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 7
                                  UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA

 9
      MICHAEL NANNIS
10
                                     Plaintiffs,       Case No.: 2:19−cv−01894−JAD−NJK
11

12           vs.                                  STIPULATION AND ORDER
                                                  ENLARGING TIME TO RESPOND TO
13    SB GAMING, LLC, a foreign limited liability RENEWED MOTION FOR PARTIAL
      company; LAS VEGAS RESORT                   SUMMARY JUDGMENT
14    HOLDINGS, LLC dba SLS Las Vegas, a          (First Request)
      foreign limited liability company; and DOES
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      I-XX,
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                                     Defendants,
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18          The parties, though their counsel, hereby stipulate that the Defendants may have up to

19   and including through September 22, 2021 within which to respond to or oppose the Plaintiff’s

20   Renewed Motion for Partial Summary Judgment (ECF No. 39). Plaintiff’s Motion was filed and

21   served on August 27, 2021, which triggered a response date of September 17, 2021. Due to

22   defense counsel having to make several sets of document productions in other matters in parallel,

23   Plaintiff’s counsel has agreed to this extension of time as a professional accommodation.

24          In compliance with LR IA 6-1, the parties state this is the first request for an enlargement

25   of time to respond to plaintiff’s Motion. The defendants do not anticipate having to request

26   further enlargements of time.

27                                        [signatures on next page]

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 1   IT IS SO STIPULATED:

 2
      NERSESIAN & SANKIEWICZ
 3

 4    By: /s/ Robert Nersesian_______       By:/s/ Abran Vigil ______
          Robert A. Nersesian                  Ann O. Hall
 5        Nevada Bar No. 2762                  Nevada Bar No. 5447
          Thea Marie Sankiewicz                Abran Vigil
 6        Nevada Bar No. 2788                  Nevada Bar No. 7548
          528 South Eighth                     2535 Las Vegas Boulevard South
 7
          Las Vegas, NV 89101                  Las Vegas, Nevada 89109
 8        Attorneys for Plaintiff              Attorneys for Defendants

 9    Dated September 17, 2021              Dated September 17, 2021

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11
                                        IT IS SO ORDERED.
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                                         _________________________________
14
                                         U.S. District Judge Jennifer A. Dorsey
15                                       Dated: September 30, 2021,
                                              Nunc pro tunc to September 17, 2021
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